   Case 15-17381-jkf      Doc 79     Filed 10/26/17 Entered 10/26/17 01:09:24            Desc
                                          Page 1 of 5




                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In re: HAMPTON EDWARD LEE                    §       Case No. P:15-bk-17381
       YVONNE BULLOCK LEE                    §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


FREDERICK L REIGLE, Chapter 13 Trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as
follows:
       1) The case was filed on 10/13/2015.

       2) The plan was confirmed on 11/16/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 04/19/2016, 08/15/2017.

       5) The case was dismissed on 08/30/2017.

       6) Number of months from filing or conversion to last payment: 19.

       7) Number of months case was pending: 24.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $18,569.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
   Case 15-17381-jkf      Doc 79     Filed 10/26/17 Entered 10/26/17 01:09:24             Desc
                                          Page 2 of 5




Receipts:
      Total paid by or on behalf of the debtor(s)           $ 16,294.10
      Less amount refunded to debtor(s)                           $ 0.00
NET RECEIPTS                                                                       $ 16,294.10



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                      $ 0.00
       Court Costs                                                $ 0.00
       Trustee Expenses & Compensation                       $ 1,483.37
       Other                                                      $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                    $ 1,483.37

Attorney fees paid and disclosed by debtor(s):                      $ 0.00



Scheduled Creditors:
Creditor                                        Claim       Claim          Claim    Principal    Interest
Name                            Class       Scheduled    Asserted       Allowed         Paid        Paid
DISCOVER BANK                   Uns          1,239.00    1,365.43       1,365.43        0.00        0.00
DISCOVER BANK                   Uns          1,440.00    1,625.15       1,625.15        0.00        0.00
QUICKEN LOANS INC               Sec         77,740.15   78,604.11       5,907.02        0.00        0.00
STERLING JEWELERS INC DBA KAY Sec            1,035.00    1,149.19           0.00        0.00        0.00
POLICE & FIRE FCU               Sec         17,185.00   14,951.41           0.00        0.00        0.00
POLICE & FIRE FCU               Uns          1,310.00    1,406.91       1,406.91        0.00        0.00
POLICE & FIRE FCU               Uns          1,847.00    1,960.63       1,960.63        0.00        0.00
QUANTUM3 GROUP LLC as agent for Uns          1,002.00    2,250.97       2,250.97        0.00        0.00
QUANTUM3 GROUP LLC as agent for Uns            293.00      648.47         648.47        0.00        0.00
QUANTUM3 GROUP LLC as agent for Uns            602.00      937.38         937.38        0.00        0.00
QUANTUM3 GROUP LLC as agent for Uns            914.00    1,439.36       1,439.36        0.00        0.00
ASHLEY FUNDING SVCS LLC         Uns            440.00       94.56          94.56        0.00        0.00
COMENITY CAPITAL BANK/PAYPAL Uns             5,656.00    5,929.35       5,929.35        0.00        0.00
COMENITY CAPITAL BANK/PAYPAL Uns               550.00      614.00         614.00        0.00        0.00
FOUNDATION FINANCE COMPANY Sec              17,430.00   18,224.55       1,200.00        0.00        0.00
CITY OF PHILADELPHIA (LD)       Sec              0.00      197.43         197.43        0.00        0.00
CHRISTOPHER BOKAS, ESQ.         Lgl          2,500.00         NA             NA         0.00        0.00
QUICKEN LOANS                   Sec          6,762.00         NA             NA         0.00        0.00



UST Form 101-13-FR-S (9/1/2009)
   Case 15-17381-jkf      Doc 79     Filed 10/26/17 Entered 10/26/17 01:09:24         Desc
                                          Page 3 of 5




Scheduled Creditors:
Creditor                                       Claim       Claim       Claim    Principal    Interest
Name                               Class   Scheduled    Asserted    Allowed         Paid        Paid
ASHLEY STEWART                     Uns        945.00         NA          NA         0.00        0.00
CAPITAL ONE BANK USA, NA           Uns        308.00         NA          NA         0.00        0.00
COMCAST                            Uns        715.00         NA          NA         0.00        0.00
CREDIT ONE BANK                    Uns        464.00         NA          NA         0.00        0.00
CREDIT ONE BANK                    Uns        711.00         NA          NA         0.00        0.00
INTERSTATE CREDIT &                Uns        200.00         NA          NA         0.00        0.00
PHILADELPHIA CO DOM REL            Uns        182.00         NA          NA         0.00        0.00
QUEST DIAGNOSTICS                  Uns        670.00         NA          NA         0.00        0.00
SAFE SECURITY                      Uns        546.00         NA          NA         0.00        0.00
SOUTHWEST CREDIT SYSTEMS           Uns        712.00         NA          NA         0.00        0.00
SYNCB/AMAZON                       Uns        690.00         NA          NA         0.00        0.00
SYNCHRONY BANK/WALMART             Uns        231.00         NA          NA         0.00        0.00
TEMPLE UNIVERSITY HOSPITAL         Uns      2,000.00         NA          NA         0.00        0.00
TEMPLE UNIVERSITY PHYSICIANS       Uns        163.00         NA          NA         0.00        0.00
WEBBANK/FINGERHUT                  Uns      1,532.00         NA          NA         0.00        0.00
WYNDHAM VACATION RESORTS           Sec     48,000.00   49,627.73        0.00        0.00        0.00
WYNDHAM VACATION RESORTS           Uns          0.00      630.30      630.30        0.00        0.00
UNITED STATES TREASURY (IRS)       Pri     38,400.00   45,028.79   45,028.79   12,486.07        0.00
UNITED STATES TREASURY (IRS)       Uns      7,660.00   19,199.62   19,199.62        0.00        0.00
CITY OF PHILADELPHIA (LD)          Pri      4,000.00    8,383.54    8,383.54    2,324.66        0.00
CITY OF PHILADELPHIA (LD)          Uns          0.00      479.13      479.13        0.00        0.00




UST Form 101-13-FR-S (9/1/2009)
   Case 15-17381-jkf      Doc 79     Filed 10/26/17 Entered 10/26/17 01:09:24   Desc
                                          Page 4 of 5




Summary of Disbursements to Creditors:

                                              Claim             Principal         Interest
                                              Allowed           Paid              Paid
Secured Payments:
      Mortgage Ongoing                              $ 0.00          $ 0.00             $ 0.00
      Mortgage Arrearage                       $ 5,907.02           $ 0.00             $ 0.00
      Debt Secured by Vehicle                       $ 0.00          $ 0.00             $ 0.00
      All Other Secured                        $ 1,397.43           $ 0.00             $ 0.00
TOTAL SECURED:                                 $ 7,304.45           $ 0.00             $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                  $ 0.00           $ 0.00            $ 0.00
        Domestic Support Ongoing                    $ 0.00           $ 0.00            $ 0.00
        All Other Priority                    $ 53,412.33      $ 14,810.73             $ 0.00
TOTAL PRIORITY:                               $ 53,412.33      $ 14,810.73             $ 0.00

GENERAL UNSECURED PAYMENTS:                   $ 38,581.26           $ 0.00             $ 0.00



Disbursements:

       Expenses of Administration              $ 1,483.37
       Disbursements to Creditors             $ 14,810.73

TOTAL DISBURSEMENTS:                                           $ 16,294.10




UST Form 101-13-FR-S (9/1/2009)
   Case 15-17381-jkf        Doc 79      Filed 10/26/17 Entered 10/26/17 01:09:24               Desc
                                             Page 5 of 5




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 10/25/2017                        By: /s/ Frederick L. Reigle, Esq.
                                               STANDING CHAPTER 13 TRUSTEE

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
